Case 1:23-cr-00099-LJV-JJM Document 332 Filed 12/27/24 Page 1of 12

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

V. 1:23CR-99
SCOTT BARNES,

Defendant.

PLEA AGREEMENT

The defendant, SCOTT BARNES, and the United States Attorney for the Western
District of New York (hereinafter “the government”) hereby enter into a plea agreement with

the terms and conditions as set out below.

I. THE PLEA AND POSSIBLE SENTENCE

1. The defendant agrees to plead guilty to Count 27 of the Second
Superseding Indictment which charges a violation of Title 18, United States Code, Section
922(g)(1) (felon in possession of firearms), for which the maximum possible sentence is a
term of imprisonment of 15 years, a fine of $250,000, a mandatory $100 special assessment,
and a term of supervised release of 3 years. The defendant understands that the penalties
set forth in this paragraph are the maximum penalties that can be imposed by the Court at

sentencing.
Case 1:23-cr-00099-LJV-JJM Document 332 Filed 12/27/24 Page 2 of 12

on The defendant understands that, if it is determined that the defendant has
violated any of the terms or conditions of supervised release, the defendant may be required
to serve in prison all or part of the term of supervised release, up to 2 years, without credit for
time previously served on supervised release. As a consequence, a prison term imposed for a
violation of supervised release may result in the defendant serving a sentencing of

imprisonment longer than the statutory maximum set forth in 4 1 of this agreement.

Il. ELEMENTS AND FACTUAL BASIS
3. The defendant understands the nature of the offense set forth in 4 1 of this
agreement and understands that if this case proceeded to trial, the government would be

required to prove beyond a reasonable doubt the following elements of the crime:

a. That the defendant was convicted in any court of a crime punishable by
imprisonment for a term of imprisonment exceeding one year, as 12 / 24 [2 4
charged in Count 27 of the Indictment; 4 WW

3 SBC0 wp IGOEQSC DL VE LAY
b. That the defendant knew that he had previously been convicted in any 7

year,

c. That the defendant knowingly possessed a firearm as charged in Count
27 of the Second Superseding Indictment; and

d. That the possession of the firearm was in or affecting interstate or
foreign commerce.

FACTUAL BASIS

A. The defendant and the government agree to the following facts, which form the
basis for the entry of the plea of guilty including relevant conduct:

a. On or about December 7, 2023, in the Western District of New York,
the defendant, SCOTT BARNES, knowing that he had been previously
convicted of a crime punishable by a term of imprisonment exceeding

2

court of a crime punishable by imprisonment for a term exceeding one [\ py ;
Case 1:23-cr-00099-LJV-JJM Document 332 Filed 12/27/24 Page 3 of 12

one year, unlawfully did knowingly possess, in and affecting interstate
commerce, a firearm.

b. On December 7, 2023, law enforcement executed a search warrant at
417 Northumberland Avenue, Buffalo, New York. For several weeks
prior to the execution of the search warrant, the defendant had been
residing in the upper portion of the building.

c. During the search of 417 Northumberland Avenue, officers recovered a
Glock, Model 22, .40 caliber handgun, bearing serial number GPU157,
loaded with 11 rounds of ammunition, on an end table near the
defendant’s sleeping area, and located nearby to various other personal
items belonging to the defendant. The defendant admits to possessing
that firearm on that date.

d. The firearm, originally purchased at Howell’s Gun Shop in Gray,
Maine, in 2010. A police report was filed with the Portland, Maine,
Police Department on or about January 30, 2013, by the owner,
reporting the firearm as stolen.

e. The defendant further admits that, on December 7, 2023, the defendant
knew that he had previously been convicted of a crime punishable by
imprisonment for a term exceeding one year, namely, Possession with
Intent to Distribute LSD, on or about October 20, 1991, in a General
Court Martial at Ford Ord, California.

f. Neither the State of New York nor any other government authority has
restored the rights of the defendant to lawfully possess a firearm.

g. The defendant admits that the firearm was not manufactured in the
State of New York and therefore, traveled in and affected interstate
commerce prior to recovery in the Western District of New York.

Tl. SENTENCING GUIDELINES
5. The defendant understands that the Court must consider but is not bound by

the Sentencing Guidelines (Sentencing Reform Act of 1984).

BASE OFFENSE LEVEL

6. The government and the defendant agree that Guidelines § 2K2.1(a)(6)(A)

applies to the offense of conviction and provides for a Base Offense Level of 14.
Case 1:23-cr-00099-LJV-JJM Document 332 Filed 12/27/24 Page 4of 12

SPECIFIC OFFENSE CHARACTERISTICS
U.S.S.G. CHAPTER 2 ADJUSTMENT

7. The government and the defendant agree that the following specific offense

characteristic does apply:

a. the two-level (2) increase pursuant to Guidelines § 2K2.1(b)(4)
(Possession of a Stolen Firearm).

ADJUSTED OFFENSE LEVEL

8. Based on paragraphs 6 and 7 of this agreement it is the understanding of the

government and the defendant that the defendant’s combined adjusted offense level is 16.

ACCEPTANCE OF RESPONSIBILITY

9. At sentencing, the government agrees not to oppose the recommendation that
the Court apply the two (2) level decrease of Guidelines § 3E1.1(a) (acceptance of
responsibility) and further agrees to move the Court to apply the additional one (1) level
downward adjustment of Guidelines § 3E1.1(b), which would result in a total offense level of

13.

CRIMINAL HISTORY CATEGORY

10. It is the understanding of the government and the defendant that the
defendant’s criminal history category is I. The defendant understands that if the defendant is
sentenced for, or convicted of, any other charges prior to sentencing in this action the
defendant’s criminal history category may increase. The defendant understands that the

defendant has no right to withdraw the pleas of guilty based on the Court’s determination of

the defendant’s criminal history category.
Case 1:23-cr-00099-LJV-JJM Document 332 Filed 12/27/24 Page 5of 12

GUIDELINES’ APPLICATION, CALCULATIONS AND IMPACT
11. ‘It is the understanding of the government and the defendant that, with a total
offense level of 13 and a criminal history category of I, the defendant’s sentencing range would
be a term of imprisonment of 12 to 18 months, a fine of $5,500 to $55,000, and a period of
supervised release of 1 to 3 years. Notwithstanding this, the defendant understands that at
sentencing the defendant is subject to the minimum and maximum penalties set forth in q 1

of this agreement.

12. The government and the defendant agree to the correctness of the calculation
of the Sentencing Guidelines range set forth above. The government and the defendant,
however, reserve the right to recommend a sentence outside the Sentencing Guidelines range.
This paragraph reserves the right to the government and the defendant to bring to the attention
of the Court all information deemed relevant to a determination of the proper sentence in this

action.

13. The defendant understands that the Court is not bound to accept any
Sentencing Guidelines calculations set forth in this agreement and the defendant will not be

entitled to withdraw the plea of guilty based on the sentence imposed by the Court.

14. In the event the Court contemplates any Guidelines adjustments, departures,
or calculations different from those agreed to by the parties above, the parties reserve the right

to answer any inquiries by the Court concerning the same.
Case 1:23-cr-00099-LJV-JJM Document 332 Filed 12/27/24 Page 6 of 12

IV. STATUTE OF LIMITATIONS

15. In the event the defendant’s plea of guilty is withdrawn, or conviction vacated,
either pre- or post-sentence, by way of appeal, motion, post-conviction proceeding, collateral
attack or otherwise, the defendant agrees that any charges dismissed pursuant to this
agreement shall be automatically reinstated upon motion of the government and further
agrees not to assert the statute of limitations as a defense to any federal criminal offense which
is not time barred as of the date of this agreement. This waiver shall be effective for a period
of six months following the date upon which the withdrawal of the guilty plea or vacating of

the conviction becomes final.

V. REMOVAL
16. The defendant represents that the defendant is a citizen of the United States.
However, if the defendant is not a citizen of the United States, the defendant understands
that, if convicted, a defendant who is not a citizen of the United States may be removed from

the United States, denied citizenship, and denied admission to the United States in the future.

VI. GOVERNMENT RIGHTS AND OBLIGATIONS
17. The defendant understands that the government has reserved the right to:

a. provide to the Probation Office and the Court all the information and
evidence in its possession that the government deems relevant
concerning the defendant’s background, character and involvement in
the offense charged, the circumstances surrounding the charge and the
defendant’s criminal history;

b. respond at sentencing to any statements made by the defendant or on
the defendant’s behalf that are inconsistent with the information and
evidence available to the government;
Case 1:23-cr-00099-LJV-JJM Document 332 Filed 12/27/24 Page 7 of 12

c. advocate for a specific sentence consistent with the terms of this
agreement;
e. modify its position with respect to any sentencing recommendation or

sentencing factor under the Guidelines including criminal history
category, in the event that subsequent to this agreement the government
receives previously unknown information, including conduct and
statements by the defendant subsequent to this agreement, regarding the
recommendation or factor; and

f. oppose any application for a downward departure and/or sentence
outside the Guidelines range made by the defendant.

18. Atsentencing, the government will move to dismiss Count 28 of the Indictment

pending against the defendant under 23-CR-099,

19. The defendant agrees that any financial records and information provided by
the defendant to the Probation Office, before or after sentencing, may be disclosed to the

United States Attorney’s Office for use in the collection of any unpaid financial obligation.

VU. APPEAL RIGHTS

20. The defendant understands that Title 18, United States Code, Section 3742
affords a defendant a limited right to appeal the sentence imposed. The defendant, however,
knowingly waives the right to appeal and collaterally attack any component of a sentence
imposed by the Court which falls within or is less than a term of imprisonment of 12 to 18
months, a fine of $5,500 to $55,000 as set forth in Section II, 11, above, notwithstanding
the manner in which the Court determines the sentence. In the event of an appeal of the
defendant’s sentence by the government, the defendant reserves the right to argue the

correctness of the defendant’s sentence.
Case 1:23-cr-00099-LJV-JJM Document 332 Filed 12/27/24 Page 8 of 12

21. The defendant understands that by agreeing not to collaterally attack the
sentence, the defendant is waiving the right to challenge the sentence in the event that in the
future the defendant becomes aware of previously unknown facts or a change in the law which

the defendant believes would justify a decrease in the defendant’s sentence.

22. The government waives its right to appeal any component of a sentence
imposed by the Court which falls within or is greater than a term of imprisonment 12 to 18
months, a fine of $5,500 to $55,000, as set forth in Section III, ¥ 11, above, notwithstanding
the manner in which the Court determines the sentence. However, in the event of an appeal
from the defendant’s sentence by the defendant, the government reserves its right to argue the

correctness of the defendant’s sentence.

VII. FORFEITURE PROVISIONS

23. The defendant acknowledges that the defendant is the owner and/or exercised
dominion and control of the firearm and ammunition described below and agrees to
immediately criminally forfeit all of the defendant's right, title, and interest to any and all
property which is subject to forfeiture pursuant to Title 18, United States Code, Sections
924(d) and 3665, and Title 28, United States Code, Section 2461(c), which is in the possession
and control of the defendant or the defendant’s nominees. That property includes the
following seized on or about December 7, 2023 from 417 Northumberland Avenue, Buffalo,

New York:
Case 1:23-cr-00099-LJV-JJM Document 332 Filed 12/27/24 Page 9of 12

FIREARM & AMMUNITION:

a. One (1) Glock 22 handgun, .40 caliber, bearing serial number GPU 157;
and

b. Approximately eleven (11) unfired .40 caliber ammunition with
magazine.

24. The defendant also agrees that the asset(s) listed above are properly forfeitable
to the government pursuant to Title 18, United States Code, Sections 924(d) and 3665, and

Title 28, United States Code, Section 2461(c).

25. The defendant agrees not to file a claim or petition seeking remission or
contesting the forfeiture of the property listed above in any administrative or judicial (civil or
criminal) proceeding. The defendant further agrees not to assist any person or entity in the
filing of any claim or petition seeking remission or contesting the forfeiture of the property
listed above in any administrative or judicial (civil or criminal) forfeiture proceeding. Further,
if any third party files a claim to the property listed above, the defendant will assist the

government in defending such claim.

26. After the acceptance of the defendant’s guilty plea, and pursuant to Rule
32.2(b)(2) of the Federal Rules of Criminal Procedure, the Court will issue a Preliminary
Order of Forfeiture for the property listed above. The defendant hereby waives any right to
notice of such Preliminary Order of Forfeiture. The defendant further consents and agrees
that the Preliminary Order of Forfeiture and a Final Order of Forfeiture shall issue and
become final as to the defendant prior to sentencing and agrees that it shall be made part of
the defendant’s sentence and included in the judgment pursuant to Rule 32.2(b)(4) of the

Federal Rules of Criminal Procedure. The defendant further agrees to waive any time

9
Case 1:23-cr-00099-LJV-JJM Document 332 Filed 12/27/24 Page 10 of 12

restrictions or requirements as provided in Title 18, United States Code, Section 983, any
notice provisions in Rules 32.2 and 43(a) regarding notice of the forfeiture in the charging
instrument, announcement of the forfeiture at sentencing, and incorporation of the forfeiture
in the judgment. The defendant knowingly and voluntarily waives the defendant’s right to
any required notice concerning the forfeiture of any of the property forfeited hereunder,
including notice set forth in an indictment, information or administrative notice. The
defendant acknowledges that the defendant understands that the forfeiture of property is part
of the sentence that may be imposed in this case and waives any failure by the Court to advise

the defendant of this, pursuant to Rule 11(b)(1)(), at the time the guilty plea is accepted.

27. The defendant knowingly, intelligently, and voluntarily waives his right to a
jury trial on the forfeiture of the property. The defendant knowingly, intelligently, and
voluntarily waives all constitutional, legal and equitable defenses to the forfeiture of the
property in any proceeding, including any defenses based on jeopardy defense or claim of
double jeopardy, whether constitutional or statutory, as to this criminal proceeding or any
related civil or administrative proceeding, the Ex Post Facto clause of the Constitution, any
applicable statute of limitations, venue, or any defense under the Eighth Amendment,

including a claim of excessive fines.

28. The defendant agrees that the above-described property is subject to forfeiture
and waives any and all statutory and constitutional rights, including but not limited to time
restrictions and notice provisions with respect to the final disposition or forfeiture of the above

property. The defendant further agrees to the destruction of the above referenced property.

10
Case 1:23-cr-00099-LJV-JJM Document 332 Filed 12/27/24 Page 11 of 12

29, The defendant further agrees that the forfeiture of the aforementioned property
as authorized herein shall not be deemed an alteration of the defendant’s sentence. Forfeiture
of the defendant’s property shall not be treated as satisfaction of any fine, restitution, cost of
imprisonment, any income taxes or any other penalty that the Court may impose upon the

defendant in addition to forfeiture and shall survive bankruptcy.

30. The defendant agrees that in the event this plea agreement is voided for any
reason, the agreement for forfeiture, abandonment, and disposition of the firearm and
ammunition survives and shall be given full force and effect. The failure of the defendant to
forfeit any property as required under this agreement, including the failure of the defendant
to execute any document to accomplish the same on timely notice to do so, may constitute a

material breach of this agreement.

31. The defendant agrees that if, for any reason, in any pleadings before the Court,
or any order of the Court, including but not limited to the Preliminary and/or Final Order of
Forfeiture and the Judgment and Commitment, the government fails to properly identify an
item to be forfeited, fails to include any item that is forfeitable under the applicable forfeiture
statute in this case, or includes a clerical or technical error, the defendant will consent and not
oppose any effort by the government to amend, correct, or add to the description/list of items
subject to forfeiture in this case. Additionally, to the extent necessary, and at the discretion of
the United States Attorney’s Office, the defendant further agrees in the alternative, to the
abandonment or civil forfeiture of any items that were excluded from the original description
of items to be forfeited. Finally, if not specially identified or listed above, the defendant agrees

to the abandonment of any and all cellular phones seized by law enforcement in this case.

11
Case 1:23-cr-00099-LJV-JJM Document 332 Filed 12/27/24 Page 12 of 12

IX. TOTAL AGREEMENT AND AFFIRMATIONS
30. This plea agreement represents the total agreement between the defendant,
SCOTT BARNES, and the government. There are no promises made by anyone other than
those contained in this agreement. This agreement supersedes any other prior agreements,

written or oral, entered into between the government and the defendant.

TRINI E. ROSS
United States Attorney
Western District of New York

BY: TK EE Sfe5-~

STACEY N. JACOVETTI
Assistant United States Attorney

Dated: December 2 2024
I have read this agreement, which consists of pages 1 through 12. I have had a full
opportunity to discuss this agreement with my attorney, David Cotter, Esq. I agree that it
represents the total agreement reached between me and the government. No promises or
representations have been made to me other than what is contained in this agreement. I
understand all of the consequences of my plea of guilty. I fully agree with the contents of this

agreement. I am signing this agreement voluntarily and of my own free will.

~y-— ) BB cae

SCOTT BARNES DAVID COTTER, ESO. ~
Defendant Attorney for the Defendant
Dated: December 4? 2024 Dated: December 212024

12
